Case 2:21-cv-06841-RGK-KES Document 1 Filed 08/25/21 Page 1 of 14 Page ID #:1



 1   DONALD W. COOK, CSB 116666
     ATTORNEY AT LAW
 2   3435 Wilshire Blvd., Suite 2910
     Los Angeles, CA 90010
 3   (213) 252-9444 / (213) 252-0091 facsimile
     E-mail: manncooklaw@gmail.com
 4
     Attorney for Plaintiff
 5

 6

 7

 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
      BREONNAH FITZPATRICK, an                             Case No. 2:21-cv-6841
11    individual and as class representative,
                                                           CLASS ACTION CIVIL
12                            Plaintiff,                   RIGHTS COMPLAINT FOR
                                                           INJUNCTIVE RELIEF AND
13    vs.                                                  DAMAGES

14    CITY OF LOS ANGELES, a municipal                     1. Injunctive Relief (42 U.S.C.
      corporation; CITY OF LOS ANGELES                     § 1983 / Art. I § 13 Cal. Const.)
15    D E P A R T M E N T                O F
      TRANSPORTATION, a public entity;                     2. Damages (Fourth
16    GENERAL MANAGER SELETA                               Amendment / 42 U.S.C. § 1983)
      REYNOLDS, an individual; BRIAN
17    HALE, CHIEF - PARKING                                3. Damages Unlawful Takings
      ENFORCEMENT & TRAFFIC                                (42 U.S.C. § 1983 / Fifth
18    CONTROL, individually and in their                   Amendment)
      official capacities; HANKS WILSHIRE
19    TOW, INC., dba S & J Wilshire Tow, a                 DEMAND FOR JURY TRIAL
      California corporation; BRIDGECREST
20    ACCEPTANCE CORPORATION, an
      Arizona corporation; and DOES 1 through
21    10, in their individual and official
      capacities,
22
                              Defendants.
23

24   I.     JURISDICTION
25          1. Plaintiff’s claims arise under 42 U.S.C. §1983 and state law. Accordingly,
26   federal jurisdiction is conferred upon this Court by 28 U.S.C. §§ 1331 and 1343. The
27   Court has supplemental jurisdiction over the state law claims under 28 U.S.C. § 1367(a).
28          2. Plaintiff’s claims arise out of, inter alia, acts of the City of Los Angeles and

                                                 -1-                                  00146579.WPD
Case 2:21-cv-06841-RGK-KES Document 1 Filed 08/25/21 Page 2 of 14 Page ID #:2



 1   the City of Los Angeles Department of Transportation, acts which occurred in the City
 2   of Los Angeles. Accordingly, venue is proper within the Central District of California.
 3   II.   PARTIES.
 4         3. Plaintiff Breonnah Fitzpatrick (“Fitzpatrick”) is the Plaintiff, an individual
 5   who lives and works in the City of Los Angeles.
 6         4. Defendant City of Los Angeles (“City”) is a municipal corporation organized
 7   and existing under the laws of the State of California. Defendant City of Los Angeles
 8   Department of Transportation (“LADOT”) is a public entity within the meaning of
 9   California law, and is a City agency.
10         5. Plaintiff is informed and believes and based thereon allege that defendant
11   Seleta Reynolds (“Reynolds”), an individual, is the General Manager of LADOT, and
12   a policy maker for LADOT within the meaning of 42 U.S.C. § 1983.
13         6. Plaintiff is informed and believes and based thereon allege that defendant Brian
14   Hale (“Hale””), an individual, is the Chief - Parking Enforcement and Traffic Control

15   for LADOT, and a policy maker for LADOT within the meaning of 42 U.S.C. § 1983.

16         7. Plaintiff is informed and believes and based thereon alleges that defendant

17   Hanks Wilshire Tow, Inc., dba S & J Wilshire Tow (“S & J Wilshire”), is a California

18   corporation. Plaintiff is informed and believes and based thereon alleges that pursuant

19   to a contract with the City, S & J Wilshire tows and impounds vehicles at the direction

20   of City / LADOT officials.

21         8. Plaintiff is informed and believes and based thereon alleges that defendant

22   Bridgecrest Acceptance Corporation (“Bridgecrest”) is a corporation organized under

23   the laws of the State of Arizona, and is authorized to do business in California as “CSC -

24   Lawyers Incorporating Service (C1592199).” Plaintiff is further informed and believes

25   and based thereon alleges that defendant Bridgecrest is the legal owner of Plaintiff’s

26
     2013 Toyota Yaris in that Bridgecrest holds a security interest in the vehicle.

27
           9. NOT a defendant is Official Police Garage - Los Angeles (“OPG-LA”), a non-

28
     profit corporation (28 U.S.C. § 501(c)(4)). The members and owners of OPG-LA are the

                                                -2-                                    00146579.WPD
Case 2:21-cv-06841-RGK-KES Document 1 Filed 08/25/21 Page 3 of 14 Page ID #:3



 1   18 Official Police Garages (OPGs) under contract with the City. S & J Wilshire Tow is
 2   one such member. OPG-LA handles much of the reporting and record keeping duties
 3   on behalf of its member OPGs that the City requires per the OPGs’ contracts.
 4          10. Plaintiff is ignorant of the true names and capacities of defendants sued herein
 5   as DOES, and therefore sues these defendants by fictitious names. Plaintiff will give
 6   notice of their true names and capacities when ascertained. Plaintiff is informed and
 7   believes and thereon alleges that defendant DOES are responsible in some manner for
 8   the damages and injuries hereinafter complained of.
 9          11. Plaintiff is informed and believes and thereupon alleges that at all times
10   relevant herein defendants, including DOE defendants, and each of them, were the
11   agents, servants, couriers and employees of other defendants, and were acting in concert
12   with each other and in furtherance of a common goal and/or objective, were acting
13   within the course and scope of the agency and employment or ostensible agency and
14   employment.

15          12. The complained of acts and omissions were performed by persons within the

16   course and scope of employment with their employers, City and/or LADOT. All acts

17   and omissions were under color of state law.

18   III.   FACTS COMMON TO ALL CLAIMS

19          A. LADOT “Unpaid Parking Tickets Vehicle Seizure Policy.”

20          13. Plaintiffs informed and believe and based thereon allege that defendants City,

21   LADOT, Reynolds and/or Hale have promulgated, promoted and/or sanctioned, a

22   policy, practice or custom, hereinafter called “Unpaid Parking Tickets Vehicle Seizure

23   Policy,” or “VSP” for short. Under the VSP, a City or LADOT official directs or causes

24   a vehicle to be seized without a warrant in order to coerce the vehicle’s registered

25   owner to pay all amounts allegedly due the City for unpaid parking tickets. The VSP

26
     directs City / LADOT officials to effect the seizure by one of two methods: (a) by

27
     affixing a “boot,” a locking metal clamp on the vehicle’s wheel to immobilize the

28
     vehicle, or (b) directing that the vehicle be towed from the street and impounded in a

                                                 -3-                                   00146579.WPD
Case 2:21-cv-06841-RGK-KES Document 1 Filed 08/25/21 Page 4 of 14 Page ID #:4



 1   vehicle impound lot maintained by an “Official Police Garage,” or OPG, working under
 2   contract with the City.
 3         14. Pursuant to the VSP, defendants bar the vehicle’s registered owner from
 4   reclaiming possession of her vehicle unless and until the owner pays all amounts
 5   allegedly due the City for unpaid parking tickets. Pursuant to the VSP, the City /
 6   LADOT does not seek judicial review of any type to justify either the initial seizure, or
 7   the ongoing seizure. Pursuant to the VSP, a vehicle is subject to seizure for unpaid
 8   parking tickets even though it is safely parked in a lawful location, posses no danger and
 9   does not constitute a traffic hazard.
10         15. If under the VSP, the City / LADOT elects to seize the vehicle by having it
11   towed and impounded in an OPG vehicle storage lot, during the period of vehicle
12   storage the OPG is charging daily storage charges (in addition to the towing and
13   administrative fees) which, per the VSP, must be paid in full before the vehicle will be
14   released. If not paid, the OPG will sell the vehicle at a lien sale to satisfy the unpaid

15   towing, storage charges and other related charges fees. See Cal. Veh. Code §22851(a)

16   (Lien created in favor of the tow company for towing and storage charges.). If the

17   amount recovered by the lien sale is insufficient to pay outstanding charges and fees,

18   the vehicle’s (former) registered owner remains liable to the OPG for the difference.

19         B. The Seizure Of Plaintiff’s Vehicle.

20         16. On or about August 11, 2021, Plaintiff was (and still is) the registered owner

21   of a 2013 Toyota Yaris (blue), license number 8AAZ781. On August 11, 2021,

22   Plaintiff’s vehicle was lawfully parked at a safe and legal location on the residential

23   street Rosewood Avenue, around the corner from Plaintiff’s residence on North

24   Ardmore, in the City of Los Angeles (Koreatown area). Some time during that day,

25   without a warrant City / LADOT officials, acting pursuant to the VSP, directed that

26
     OPG S & J Wilshire, tow and impound the vehicle, citing Cal. Veh. Code § 22651(I).

27
     In compliance with its contract with the City, S & J Wilshire took possession of

28
     Plaintiff’s vehicle, towing and storing it in its storage lot as a vehicle impound subject

                                                -4-                                   00146579.WPD
Case 2:21-cv-06841-RGK-KES Document 1 Filed 08/25/21 Page 5 of 14 Page ID #:5



 1   to a City / LADOT hold.
 2         17. Since the August 11 impound, Plaintiff has been pleading with City / LADOT
 3   officials to release her vehicle but to no avail. Both before and after the August 11
 4   impound, Plaintiff has explained to City / LADOT officials why she has unpaid parking
 5   tickets -- because of her illness in the last year (which required that she be hospitalized)
 6   her Toyota was ticketed repeatedly. Plaintiff was unable to pay the tickets because she
 7   was not working on account of COVID and her hospitalization. Despite explaining this
 8   to City / LADOT officials and presenting proof of her medical disabilities, officials
 9   refused to grant her any relief. Officials are also refusing to release her vehicle from the
10   current impound unless and until she pays the outstanding amounts the City demands
11   for the parking tickets.
12         18. The City / LADOT officials’ refusal to release Plaintiff’s vehicle is causing
13   Plaintiff ongoing great and irreparable harm because:
14                A. Plaintiff’s Toyota is her only vehicle while Plaintiff lives alone. She

15         ordinarily relies on her vehicle for school (she is a full-time college student) and

16         importantly for her medical appointments for an ongoing serious medical

17         condition. Plaintiff also uses her vehicle for income, working as a driver for Lyft

18         and Uber when she is physically able to work;

19                B. Because the vehicle is currently in the possession of S & J Wilshire

20         pursuant to the City / LADOT impound, if the vehicle is not reclaimed and thus

21         the outstanding towing and storage charges are not paid, Plaintiff is informed and

22         believes and thereon alleges that pursuant to Cal. Veh. Code §22851(a) S & J

23         Wilshire will sell the vehicle at a lien sale in order to collects funds due it for the

24         towing and storage. That will cause Plaintiff to lose ownership of her vehicle and

25         to be in breach of the finance agreement by which she borrowed money to

26
           purchase the vehicle. That breach, in turn, will adversely affect Plaintiff’s credit

27
           score while also subjecting her to suit by her creditor, Bridgecrest, the vehicle’s

28
           legal owner.

                                                 -5-                                     00146579.WPD
Case 2:21-cv-06841-RGK-KES Document 1 Filed 08/25/21 Page 6 of 14 Page ID #:6



 1                C. Alternatively and in order to avoid the vehicle’s sale pursuant to
 2         § 22851(a), as the legal owner Bridgecrest may reclaim Plaintiff’s Toyota from
 3         S & J Wilshire pursuant to Cal. Veh. Code § 22651(i)(4)(C) as a repossessed
 4         vehicle. In that instance, Bridgecrest will then sell the vehicle thereby depriving
 5         Plaintiff of her ownership interest in the Toyota even though Plaintiff is current
 6         on all sums due Bridgecrest under the finance agreement with Plaintiff.
 7   IV. CLASS ACTION ALLEGATIONS – PLAINTIFF’S CLASSES.
 8         19. Plaintiff bring this action on her own behalf, and on behalf of the class of all
 9   persons similarly situated, pursuant to Rule 23, Federal Rules of Civil Procedure.
10         20. There is an “Injunctive Relief Class” as defined under Rule 23(b)(2) to
11   include all registered owners whose vehicles are presently seized pursuant to the City
12   / LADOT’s Vehicle Seizure Policy, or who may in the future have their vehicles so
13   seized/impounded. This class seeks an injunction commanding defendant City, LADOT,
14   Reynolds and Hale, and each of them, to immediately release vehicles not held pursuant

15   to a warrant, to either the vehicle’s registered owner or to a licensed driver designed by

16   the registered owner who can drive the vehicle lawfully. Plaintiff is the proposed Class

17   Representative for the Injunctive Relief Class.

18         21. There is a “Damages Class” as defined by Rule 23(b)(3), consisting of those

19   vehicle owners whose vehicles were seized at any time within the last two years of this

20   Complaint’s filing and continuing up through the present, where such seizures were

21   pursuant and impounded for 30 days pursuant to the City / LADOT’s Vehicle Seizure

22   Policy. Plaintiff is the proposed Class Representative for the Damages Class.

23         22. On information and belief, the Injunctive Relief Class numbers at least in the

24   hundreds while the Damages Class numbers in the thousands. The members of the

25   classes are so numerous that joinder is impracticable.

26
           23. The classes are ascertainable because the LADOT and non-party OPG-LA

27
     maintain paper and computer records tracking and identifying every vehicle seized

28
     under the VSP, including the registered owner (name and address), vehicle description,

                                                -6-                                   00146579.WPD
Case 2:21-cv-06841-RGK-KES Document 1 Filed 08/25/21 Page 7 of 14 Page ID #:7



 1   date and location where the vehicle was seized, where the vehicle is being held, the
 2   authority under which the vehicle is seized, the date the vehicle was released, whether
 3   it was sold at a lien sale and for how much, and the amounts paid for administrative
 4   fees, towing and storage charges, and who paid these charges.
 5         24. Questions of law and fact common to each class include:
 6                A. Whether the VSP is constitutional, under either the Fourth Amendment
 7         (unlawful seizure without a warrant), and the Fifth Amendment (Takings without
 8         compensation) and the Fourteenth Amendment.
 9                B. Whether the VSP violates the Fourth Amendment by directing vehicle
10         impounds without a warrant and in the absence of justification for the warrantless
11         seizures.
12         25. Plaintiff’s claims are typical of the claims of members of each class on whose
13   behalf she acts as a class representative, in that as with each class member, Plaintiff’s
14   vehicle was seized without a warrant and pursuant to the VSP. As with each class

15   member, Plaintiff is willing and able to safely and lawfully reclaim possession of her

16   vehicle but for the VSP mandatory requirement that Plaintiff first pay all sums allegedly

17   due the City for unpaid parking tickets.

18         26. Plaintiff will fairly and adequately protect the interests of each class on whose

19   behalf she is acting as a class representative. Plaintiff has no interest which is now or

20   may be potentially antagonistic to the interests of each class on whose behalf they are

21   acting as a class representative. As with all class members, Plaintiff’s vehicle was seized

22   without a warrant and impounded pursuant to the VSP. As with all class members,

23   Plaintiff seeks to reclaim possession of her vehicle immediately. The attorney

24   representing the Plaintiff is experienced civil rights attorney, and is considered able

25   practitioners in federal constitutional and statutory adjudications.

26
           27. In accordance with Fed.R.Civ.P. Rule 23(b)(1)(A), prosecutions of separate

27
     actions by individual members of each class would create a risk that is inconsistent or

28
     varying adjudications with respect to individual members of the class would establish

                                                 -7-                                   00146579.WPD
Case 2:21-cv-06841-RGK-KES Document 1 Filed 08/25/21 Page 8 of 14 Page ID #:8



 1   incompatible standards of conduct for the parties opposing the class.
 2          28. In accordance with Fed.R.Civ.P. Rule 23(b)(1)(B), prosecutions of separate
 3   actions by individual members of the class would create a risk of adjudications with
 4   respect to individual members of the class which would, as a practical matter,
 5   substantially impair or impede the interests of the other members of the class to protect
 6   their interests.
 7          29. The Damages Class qualifies for certification pursuant to the provisions of
 8   Fed.R.Civ.P. Rule 23(b)(3) in that 1) the questions of law or fact common to the
 9   members of the class predominate over any questions affecting only individual
10   members, and 2) this class action is superior to other available methods for the fair and
11   efficient adjudication of the controversy between the parties.
12          30. Plaintiff is informed and believes and thereon alleges that the interests of
13   members of each class in individually controlling the prosecution of a separate action
14   are low. Most class members would be unable to individually prosecute any action at

15   all. Plaintiff is informed and believes and thereon alleges that the amounts at stake for

16   individuals are so small that separate suits would be impracticable. Plaintiff is informed

17   and believes and thereon alleges that most members of the class will not be able to find

18   counsel to represent them.

19          31. Plaintiff is informed and believes and thereon alleges it is desirable to

20   concentrate all litigation in one forum because the VSP is a Los Angeles City-wide

21   policy presumptively enforced by City / LADOT officials as against all vehicle owners

22   within the City’s jurisdiction. It would consume undue and unnecessary resources to

23   litigate the identical issues in different forums.

24          32. Liability can be determined on a class-wide basis regarding what provisions

25   of the VSP are lawful. For instance, a determination of seizing a vehicle without a

26
     warrant in order to coerce the vehicle owner’s to pay unpaid parking tickets violates the

27
     Fourth and Fourteenth Amendments, that determination disposes of all Fourth and

28
     Fourteenth Amendment claims of all class members.

                                                 -8-                                  00146579.WPD
Case 2:21-cv-06841-RGK-KES Document 1 Filed 08/25/21 Page 9 of 14 Page ID #:9



 1         33. To the extent it is determined that notice is required for the Plaintiff Class,
 2   then, class members will be identified by the records of LADOT and OPG-LA.
 3   VI. APPROPRIATENESS OF EQUITABLE RELIEF.
 4         34. Plaintiff and Injunctive Relief Class members do not have an adequate remedy
 5   at law for the injuries alleged herein. The continuing enforcement of the VSP violates
 6   Plaintiff’s and class members Fourth Amendment rights guaranteeing that all seizures
 7   must be reasonable, and causes continuing, sweeping and irreparable harm to Plaintiff
 8   and class members by the ongoing deprivation of their vehicles, property that is
 9   essential for Plaintiff and class members’ livelihood and necessities of life, e.g.,
10   transporting owners to hospitals.
11         35. Plaintiff and Injunctive Relief Class members are also entitled to declaratory
12   relief with respect to the constitutionality of the VSP, and an injunction preventing the
13   enforcement of those aspects determined to be unconstitutional. Such relief is necessary
14   in that an actual and substantial controversy exists between Plaintiff and class members,

15   who contend that the VSP is unconstitutional, and Defendants, who deny such

16   contention and enforce its provisions. Without such a declaration and injunction,

17   Plaintiff faces the ongoing threat of its enforcement.

18         36. Injunctive relief does not raise any mootness issues because the harm alleged

19   may be revisited on the class where it is capable of repetition, yet evading review due

20   to the transitory nature of Plaintiffs’ claims. County of Riverside v. McLaughlin, 500

21   U.S. 44, 51-52 (1991).

22                                        COUNT ONE

23         Injunctive Relief Commanding Release and Return of Plaintiff’s Vehicle

24                                   (Against All Defendants)

25                         (42 U.S.C. § 1983 / Art. I § 13 Cal. Const.)

26
           37. By this reference, Plaintiff, on behalf of herself and members of the

27
     Injunctive Relief Class, re-alleges and incorporates all previous and following

28
     paragraphs as if fully set forth herein.

                                                -9-                                  00146579.WPD
Case 2:21-cv-06841-RGK-KES Document 1 Filed 08/25/21 Page 10 of 14 Page ID #:10



 1         38. The present ongoing impoundment and without a warrant of vehicles
 2   belonging to Plaintiff and members of the Injunctive Relief Class do not meet the
 3   requirements of the community caretaking doctrine, i.e., the vehicles do not present a
 4   threat to public safety. Specifically, the impounded vehicles presently do not “impede
 5   traffic, threaten public safety, or be[come] subject to vandalism,” Miranda v. City of
 6   Cornelius, 429 F.3d 858, 862-65 (9th Cir. 2005). Meanwhile, the ongoing seizures
 7   without warrants of vehicles belonging to Plaintiff and Injunctive Relief Class members,
 8   violates the Fourth Amendment, Brewster v. Beck, 859 F.3d 1194, 1196-97 (9th Cir.
 9   2017). Plaintiff and class members are willing and able to lawfully reclaim possession,
10   and seek possession of their vehicles, but are denied possession on account of the VSP.
11         39. The seizures of vehicles pursuant to the VSP violates the Fourth Amendment
12   to the United States Constitution, and Art. I § 13 of the California Constitution,
13   regardless of whether the initial seizure and removal of the vehicle was constitutionally
14   valid or not.

15         40. The acts alleged herein were the product of a custom, practice and/or policy

16   of defendants City and LADOT, which custom, practice and/or policy caused the

17   constitutional violations alleged herein.

18                                       COUNT TWO

19         (Damages Claim Against City, LADOT, Reynolds, Hale and DOES only)

20                          (42 U.S.C. §1983 - Fourth Amendment)

21         41. By this reference, Plaintiff, on behalf of herself and members of the Damages

22   Class, re-alleges and incorporates all previous and following paragraphs as if fully set

23   forth herein.

24         42. The seizures of vehicles belonging to Plaintiff and members of the Damages

25   Class where such seizures were made without a warrant, did not meet the requirements

26
     of the community caretaking doctrine, i.e., the vehicles do not present a threat to public

27
     safety, violated the Fourth Amendment to the United States Constitution, thereby

28
     entitling Plaintiff and class members to recover compensatory damages from all

                                                 -10-                                 00146579.WPD
Case 2:21-cv-06841-RGK-KES Document 1 Filed 08/25/21 Page 11 of 14 Page ID #:11



 1   defendants EXCEPT defendants S & Wilshire and Bridgecrest, proximately caused by
 2   the seizures.
 3             43. The acts alleged herein were the product of a policy or custom of defendants
 4   City and LADOT, which policy or custom caused the constitutional violation alleged
 5   herein.
 6                                         COUNT THREE
 7         (Damages Claim Against City, LADOT, Reynolds, Hale and DOES only)
 8             (42 U.S.C. §1983 - Fifth Amendment [Takings without Compensation])
 9             44. By this reference, Plaintiff, on behalf of herself and members of the Damages
10   Class, re-alleges and incorporates all previous and following paragraphs as if fully set
11   forth herein.
12             45. The seizures of vehicles belonging to Plaintiff and members of the Damages
13   Class, constitute Takings within the meaning of the Fifth Amendment. Furthermore,
14   defendants City / LADOT effect the Takings for a public purpose -- coercing vehicle

15   owners to pay the City sums allegedly due the City for unpaid parking tickets. Seizing

16   vehicles merely for repeated non-payment of parking fees does not, in and of itself,

17   justify the seizure. Thus, the seizures are Takings for which all defendants EXCEPT

18   defendants S & Wilshire and Bridgecrest, owe compensation to Plaintiff and members

19   of the Damages class.

20             WHEREFORE, Plaintiff respectfully requests that this Court grant the following

21   relief:

22             On The First Cause of Action:

23             46. That the Court certify this case pursuant to F. R. Civ. P. 23(b)(2) as a class

24   action on behalf of a class of Plaintiff composed of the Injunctive Relief Class described

25   above;

26
               47. That the Court issue a declaration that the VSP, in the respects set forth

27
     herein, is unconstitutional on its face and of no force or effect. Specifically, that this

28
     Court declare that the VSP is facially unconstitutional to the extent that it directs vehicle

                                                  -11-                                   00146579.WPD
Case 2:21-cv-06841-RGK-KES Document 1 Filed 08/25/21 Page 12 of 14 Page ID #:12



 1   seizures without warrants in the absence of consent, exigent circumstances, emergency
 2   or community caretaking;
 3         48. That pending determination of Plaintiff’s motion for a preliminary injunction,
 4   the Court issue a temporary restraining order as against defendants S & J Wilshire and
 5   Bridgecrest that (a) bars S & J Wilshire from selling Plaintiff’s vehicle at a lien sale and
 6   (b) bars Bridgecrest from repossessing Plaintiff’s vehicle pursuant to Cal. Veh. Code
 7   § 22651(i)(4).
 8         49. That the Court issue a preliminary and permanent injunction on behalf of
 9   Plaintiff and class members commanding defendants, and each of them, to release
10   immediately to Plaintiff and class members their respective vehicles, upon proof that
11   Plaintiff and class members can lawfully take possession;
12         50. That this Court award Plaintiff attorneys fees and costs incurred in this action
13   under 42 U.S.C. § 1988, Cal. Civ. Proc. Code § 1021.5, California’s private attorney
14   general doctrine, and any other appropriate statute.

15         On The Second and Third Causes of Action:

16         51. That the Court certify this case pursuant to F. R. Civ. P. 23(b)(3) as a class

17   action on behalf of a class of Plaintiff composed of the Damages Class described above;

18         52. That as against defendants City, LADOT, Reynolds, Hale and DOES, this

19   Court award Plaintiff and the class members compensatory damages, according to proof;

20         53. That as against defendants Reynolds, Hale and DOES, the Court award

21   punitive damages in an amount sufficient to deter and punish these defendants;

22         54. That this Court award attorneys fees and costs incurred in this action under

23   42 U.S.C. § 1988, and any other appropriate statute.

24   ///

25   ///

26
     ///

27
     ///

28
     ///

                                                 -12-                                   00146579.WPD
Case 2:21-cv-06841-RGK-KES Document 1 Filed 08/25/21 Page 13 of 14 Page ID #:13
Case 2:21-cv-06841-RGK-KES Document 1 Filed 08/25/21 Page 14 of 14 Page ID #:14
